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  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
10    RICHARD BUCHANAN,                            CASE NO. 10-CV-1135
                                                            05-CR-0199
11                                Petitioner,
12          vs.                                    ORDER DENYING MOTION TO
                                                   VACATE, SET ASIDE, OR
13                                                 CORRECT SENTENCE
                                                   PURSUANT TO 28 U.S.C. § 2255
14    UNITED STATES OF AMERICA,
                                                   [ECF Nos 556, 588, 593, 596, 601, 604,
15                              Respondent.        606, 610.]
16
17                                  INTRODUCTION
18         Before the Court is Petitioner Richard Charles Buchanan’s motion under 28
19 U.S.C. § 2255 to vacate, set aside or correct his sentence for distribution of
20 methamphetamine. Buchanan seeks relief on several grounds, including ineffective
21 assistance of counsel, violations of his constitutional rights under Brady v.
22 Maryland, 373 U.S. 83 (1963), and prosecutorial misconduct. For the reasons given
23 below, Buchanan’s motion is denied. The Court declines to grant a certificate of
24 appealability.
25                                   BACKGROUND
26         In February 2005, a federal grand jury returned a multiple-count indictment
27 against eleven individuals. Buchanan was charged with distributing
28 methamphetamine in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

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  1 Buchanan entered a not guilty plea. He was tried by a jury and convicted on Counts
  2 16, 17, 19, 20, and 21. The government’s theory, proved at trial, was that Buchanan
  3 sold methamphetamine to government informant Sean Guerra on five occasions,
  4 either directly or through co-defendant Nancy Soria. Three of the transactions
  5 (Counts 16, 17, and 19) involved Soria. They occurred on May 28, 2004; June 3,
  6 2004; and July 8, 2004. The remaining transactions (Counts 20 and 21) involved
  7 only Buchanan. They occurred on August 6, 2004 and August 19, 2004. Soria was
  8 charged with Buchanan on Counts 16, 17, and 19. Unlike Buchanan, Soria pled
  9 guilty.
10         Trial began on May 1, 2007. Buchanan was represented by attorney Barbara
11 Donovan. The government called eight witnesses. Chief among them was Guerra.
12 Guerra testified about making telephone calls to Buchanan or Soria to arrange drug
13 transactions. He testified that he then purchased the methamphetamine. He testified
14 that he paid a tax so that Buchanan would permit him to sell narcotics in the area.
15 The government presented recordings of the “set up” calls, body wire recordings of
16 the transactions, as well as surveillance photographs and video clips of Buchanan
17 and Soria. The government also presented the seized methamphetamine.
18         Another government witness was Perry McIvor, a former detective with the
19 San Diego Police Department. McIvor was part of a multi-agency task force
20 investigating Buchanan. McIvor testified about recruiting Guerra as an informant,
21 Guerra’s compensation, Guerra’s criminal history, and the process of using Guerra
22 to purchase the methamphetamine.
23         Donovan focused on attacking Guerra’s credibility. The defense rested
24 without calling any witnesses.
25         Buchanan was convicted on May 7, 2007. He was sentenced to 240 months
26 on one count and 545 months for each of the remaining counts with all sentences
27 running concurrently; five years of supervised release; a $100 special assessment;
28 and a fine of $6,812.00. The sentence was also to run concurrent with a state court

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  1 sentence for kidnaping and other felonies.1
  2          Buchanan filed a notice of appeal and was appointed new counsel, Gerson
  3 Simon. Pursuant to Anders v. California, 386 U.S. 738 (1967), Simon filed a brief
  4 stating there were no grounds for relief and moved to withdraw as counsel of record.
  5 Buchanan was provided an opportunity to file a pro se supplemental brief. No pro se
  6 supplemental brief was filed. On April 24, 2009, the Ninth Circuit, finding no
  7 arguable grounds for relief on direct appeal, granted the attorney’s motion to
  8 withdraw and affirmed the district court’s judgment. The mandate issued on May
  9 18, 2009.
10           Now, Buchanan collaterally attacks his conviction on the following grounds:
11 (1) the government suppressed evidence in violation of Brady v. Maryland; (2)
12 prosecutorial misconduct; and (3) ineffective assistance of trial and appellate
13 counsel. Buchanan also asks for an evidentiary hearing. The United States filed a
14 Response. (ECF No. 559.) Buchanan filed a Traverse. (ECF No. 589.) The United
15 States filed a Reply to address new arguments and evidence raised in the Traverse.
16 (ECF No. 598.) Buchanan filed a “Rebuttal” to the Reply (ECF No. 608) as well as
17 several ancillary motions.2
18
19           1
                   In April 2006, Buchanan was found guilty by a San Diego Superior Court jury of kidnaping
20 for ransom or extortion, assault with a semi-automatic firearm, making a criminal threat, possession
      of a firearm by a felon, transportation of a controlled substance, possession of a controlled substance
21 for sale, and possession of a controlled substance. He was sentenced to 45 years-to-life plus ten years
      in prison.
22           2
                   Buchanan’s motion for reconsideration of a prior order (ECF No. 588), his request for an
23 order enjoining the United States Department of Justice from withholding agency records (ECF No.
      596), his request for leave to file a rebuttal (ECF No. 601), and his motion to strike (ECF No. 606) are
24 denied.
             Buchanan’s requests for judicial notice (ECF Nos. 593, 604, 610) are granted in part. The
25 Court takes judicial notice of those exhibits that are publically filed court documents. See Reyn’s
      Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741 (9th Cir. 2006) ( “[Courts] may take judicial notice
26 of court filings and other matters of public record.”). The remaining materials are not proper subjects
      for judicial notice. Buchanan’s request for discovery is denied.
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  1                                      DISCUSSION
  2         Buchanan brings the present motion to collaterally attack his conviction and
  3 sentence pursuant to 28 U.S.C. § 2255. Section 2255 provides that a federal prisoner
  4 seeking relief from a custodial sentence “may move the court which imposed the
  5 sentence to vacate, set aside or correct the sentence” upon “the ground that the
  6 sentence was imposed in violation of the Constitution or laws of the United States,
  7 or that the court was without jurisdiction to impose such sentence, or that the
  8 sentence was in excess of the maximum authorized by law, or is otherwise subject to
  9 collateral attack. . . .” 28 U.S.C. § 2255(a). To warrant relief under § 2255, a
10 prisoner must allege a constitutional, jurisdictional, or otherwise “fundamental
11 defect which inherently results in a complete miscarriage of justice [or] an omission
12 inconsistent with the rudimentary demands of fair procedure.” Hill v. United States,
13 368 U.S. 424, 428 (1962). “Errors of law which might require reversal of a
14 conviction or sentence on appeal do not necessarily provide a basis for relief under §
15 2255.” United States v. Wilcox, 640 F.2d 970, 973 (9th Cir. 1981).
16          Under § 2255, the court shall grant an evidentiary hearing “unless the files and
17 records of the case conclusively show that the prisoner is entitled to no relief.” 28
18 U.S.C. § 2255(b). “The standard essentially is whether the movant has made
19 specific factual allegations that, if true, state a claim on which relief could be
20 granted.” United States v. Schaflander, 743 F.2d 714, 717 (9th Cir. 1984). When a
21 motion “presents no more than conclusory allegations, unsupported by facts and
22 refuted by the record, an evidentiary hearing is not required.” United States v. Quan,
23 789 F.2d 711, 715 (9th Cir. 1986); see also United States v. Leonti, 326 F.3d 1111,
24 1116 (9th Cir. 2003) (evidentiary hearing unnecessary if allegations when viewed
25 against the record are palpably incredible or patently frivolous).
26 I.       Procedural Default
27          The government argues that all of Buchanan’s claims are procedurally barred
28

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  1 because Buchanan failed to raise them on direct appeal. Accordingly, the Court first
  2 considers procedural default.
  3        Section 2255 “is not designed to provide criminal defendants multiple
  4 opportunities to challenge their sentence.” United States v. Johnson, 988 F.2d 941,
  5 945 (9th Cir. 1993). The general rule is that a criminal defendant procedurally
  6 defaults his claims if he could have raised them on direct appeal but failed to do so.
  7 Massaro v. United States, 538 U.S. 500, 504 (2003); United States v. Ratigan, 351
  8 F.3d 957, 962 (9th Cir. 2003). “The procedural-default rule is neither statutory nor a
  9 constitutional requirement, but it is a doctrine adhered to by the courts to conserve
10 judicial resources and to respect the law’s important interest in the finality of
11 judgments.” Massaro, 538 U.S. at 504. The Supreme Court has carved out an
12 exception for claims challenging a federal conviction based on ineffective assistance
13 of counsel. Id. at 509. Such claims may be brought in a collateral proceeding under
14 § 2255, whether or not the petitioner could have raised the claim on direct appeal.
15 Id.
16         For other defaulted claims, federal courts may consider the merits if a
17 petitioner can show: (1) “cause” for not raising the claim sooner and “actual
18 prejudice” resulting from the alleged error; or (2) his “actual innocence.” Ratigan,
19 351 F.3d at 960.
20         The standard for “cause and prejudice” is as follows. “Generally, to
21 demonstrate ‘cause’ for procedural default, an appellant must show that ‘some
22 objective factor external to the defense’ impeded his adherence to the procedural
23 rule.” United States v. Skurdal, 341 F.3d 921, 925 (9th Cir. 2003) (quoting Murray
24 v. Carrier, 477 U.S. 478, 488 (1986)). To show “prejudice,” a petitioner “must
25 shoulder the burden of showing, not merely that the errors at his trial created a
26 possibility of prejudice, but that they worked to his actual and substantial
27 disadvantage, infecting his entire trial with error of constitutional dimensions.”
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  1 United States v. Frady, 456 U.S. 152, 170 (1982) (emphasis in original). A district
  2 court need not address both the cause and prejudice prongs if the petitioner fails to
  3 satisfy one. Id. at 168.
  4           The standard for overcoming a procedural default via “actual innocence” is
  5 more stringent. “To invoke the actual innocence exception, [Buchanan] must show
  6 that in light of all the evidence, ‘it is more likely than not that no reasonable juror
  7 would have found [him] guilty beyond a reasonable doubt.’” United States v. Avery,
  8 719 F.3d 1080, 1083 (9th Cir. 2013) (quoting Schlup v. Delo, 513 U.S. 298, 327
  9 (1995)).
10           By failing to file an appellate brief, Buchanan has defaulted on all claims
11 except those alleging ineffective assistance of counsel. He concedes that the
12 grounds for relief asserted in his petition “have not been presented until now.”
13 Buchanan’s argument for why the Court should look past those defaults, however, is
14 not entirely clear. In his Petition, he appears to suggest that cause-and-prejudice
15 applies because he “suffered serious health issues while at jail” and was
16 “overwhelmed with legal matters.” In his Traverse, however, he makes vague
17 assertions of government interference.3 He also claims to be actually innocent .
18           The Court will address whether he has made the requisite showing of cause
19 and prejudice in the context of his individual claims. To the extent he asserts the
20 actual innocence exception to the procedural bar, his argument clearly fails and the
21 Court can dismiss it here at the outset. At trial, the government offered substantial
22 evidence of Buchanan’s guilt. Nothing Buchanan presents here—be it his “new”
23 evidence, his allegations of trial defects, or his unsupported claims of perjury and
24 planted evidence—injects sufficient doubt about the validity of his conviction to
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26           3
                 He claims, for example, that the government interfered with his appeal by sending a
27 confidential informant “again and again” to mislead him into believing that the informant would be
      hiring an attorney to assist him. (Traverse 5-6.) He also vaguely asserts that his legal materials
28 “disappeared” or were confiscated. (Traverse 6.)

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  1 warrant setting aside the defaults. If Buchanan does find a way to get past the
  2 procedural bar, it will not be through the narrow gateway of actual innocence.
  3           The Court now turns to the claims themselves.
  4 II.       Brady Violations
  5           Buchanan contends that the government violated the disclosure rule of Brady
  6 v. Maryland in several respects. Specifically, he claims that the following was
  7 improperly suppressed: (1) a written report memorializing law enforcement’s
  8 January 24, 2005 interview of Soria; (2) evidence relating to a state wiretap of an
  9 individual named Ernesto Torres; (3) Giglio material relating to Geurra; and (4)
10 Henthorn material relating to McIvor.
11            Brady and its progeny “require the state to disclose all material evidence that
12 could exculpate the defendant, including evidence that could be used to impeach one
13 of the prosecution’s witnesses or undermine the prosecution’s case.” Milke v. Ryan,
14 711 F.3d 998, 1003 (9th Cir. 2013). To prove a Brady violation, a petitioner must
15 show: “(1) that the evidence at issue is favorable to him because it is exculpatory or
16 impeaching; (2) that it was suppressed by the state, either willfully or inadvertently,
17 and (3) that it was material.” Henry v. Ryan, 720 F.3d 1073, 1080 (9th Cir. 2013)
18 (citing Strickler v. Greene, 527 U.S. 263, 280-82 (1999)).
19            Under Brady, “[e]vidence is deemed prejudicial, or material, only if it
20 undermines confidence in the outcome of the trial.” Benn v. Lambert, 283 F.3d
21 1040, 1053 (9th Cir. 2002).4 Put another way, there must be “a reasonable
22 probability that, had the evidence been disclosed to the defense, the result of the
23 proceeding would have been different.” United States v. Bagley, 473 U.S. 667, 682
24 (1985). “Reversal of a conviction or sentence is required only upon a showing that
25 the favorable evidence could reasonably be taken to put the whole case in such a
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              4
27               “The terms ‘material’ and ‘prejudicial’ are used interchangeably in Brady cases. Evidence
      is not ‘material’ unless it is ‘prejudicial,’ and not ‘prejudicial’ unless it is ‘material.’ Thus, for Brady
28    purposes, the two terms have come to have the same meaning.” Benn, 283 F.3d at 1053 n


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  1 different light as to undermine confidence in the verdict.” United States v. Olsen,
  2 704 F.3d 1172 (9th Cir. 2013) (quotations omitted). An analysis of the withheld
  3 evidence must take into consideration the entire record. Benn, 283 F.3d at 1053.
  4        In the context of a defaulted Brady claim, the “cause and prejudice” test
  5 parallels aspects of the substantive analysis. Banks v. Dretke, 540 U.S. 668, 691
  6 (2004). For example, a petitioner shows ‘cause’ for the default when the reason for
  7 his failure to raise the claim earlier was the government’s suppression of relevant
  8 evidence. Id. Similarly, the prejudice component mirrors Brady’s materiality prong.
  9 Id.
10         A.       Soria Interview
11         Buchanan contends that Soria gave a January 2005 interview to law
12 enforcement that exonerated him and the government refused to disclose it despite
13 an explicit request. For support, he attaches an eight-page report from the FBI
14 memorializing the interview.5 (Pet., Exh. 1.) He alleges that he did not obtain this
15 report “until after conviction.” (Traverse 12.)
16         Buchanan highlights the following passage: “SORIA was questioned
17 regarding her involvement with methamphetamine and the sale of narcotics for
18 anyone or to anyone. SORIA advised she did not sell for BUCHANAN. Her
19 narcotics transactions were for personal use only.” Buchanan claims he could have
20 used this: (1) as exculpatory evidence; (2) to challenge the veracity of surreptitiously
21 recorded statements attributed to Soria that “implicat[ed] movant as being some sort
22 of boss to her in the drug sales business”; and (3) to contest the prosecution’s
23 arguments in summation that Buchanan was directing Soria and setting the price of
24 the narcotics. (Pet. 6-8.)
25         Buchanan has not shown prejudice. As exculpatory or impeachment
26 evidence, the report is simply not that potent. Buchanan cites a favorable excerpt
27
           5
28             The United States does not challenge the authenticity of this report.


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  1 but he ignores the incriminating statements. There were several. Soria agreed
  2 Buchanan was a member of the Mexican Mafia and that she advised people to do
  3 things for him “because he is a Carnal.” She admitted to collecting “taxes” from
  4 Guerra and sharing the money with Buchanan. And, although she initially denied
  5 being with Buchanan on the day of a large drug sale to Guerra, she backtracked
  6 when told she had been seen with him, noting that she “was on a sick one” (high on
  7 methamphetamine) that day and had to be reminded of what she did. Had Buchanan
  8 introduced favorable aspects of the report, the jury would have been exposed to the
  9 rest. See FED. R. EVID. 106 (“If a party introduces all or part of a writing or recorded
10 statement, an adverse party may require the introduction, at that time, of any other
11 part—or any other writing or recorded statement—that in fairness ought to be
12 considered at the same time.”) To the extent Buchanan contends that he could have
13 impeached the government’s closing argument with the report, he is mistaken.
14 Attorney argument is not subject to impeachment.
15          The record reflects strong evidence of Buchanan’s guilt. There are no
16 grounds to believe that Soria’s statement to law enforcement several months after
17 Buchanan’s arrest would have put the whole case in such a different light as to
18 undermine confidence in the verdicts.6 Thus, even if Buchanan is right that the
19 interview was favorable, it was not material for Brady purposes. See Olsen, 704
20 F.3d at 1183 (“Even if evidence favorable to the defendant has been suppressed or
21 not disclosed by the prosecution, there is no true Brady violation unless that
22 information is material.”). Because Buchanan has not shown materiality under
23 Brady or prejudice sufficient to overcome his default, the Court need not reach the
24 issue of “cause” for not raising the issue sooner. See Strickler, 527 U.S. at 296.
25 This claim is procedurally barred.
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27          6
                Indeed, Soria was not involved in two of the five transactions for which Buchanan was
28 convicted.

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  1         B.     Wiretap (Torres)
  2         Buchanan argues that the government improperly suppressed evidence of a
  3 state wiretap on an individual named Ernesto Torres. In 2006, Buchanan was
  4 convicted in state court of kidnaping Torres, among other felonies. Buchanan
  5 contends he did not learn about the state’s wiretap on Torres until after his federal
  6 trial. (Pet. 10.)
  7         Buchanan’s Brady argument is as follows. Certain law enforcement officers,
  8 including McIvor, testified in both his state and federal trials. He believes that
  9 certain aspects of their testimony in the state trial are contradicted by the very
 10 existence of a Torres wiretap. He believes that he could have used those perceived
 11 inconsistencies to attack the officers’ credibility in the federal trial.
 12         This is reaching. First, there was no suppression. The record reflects that the
 13 government informed Donovan about the existence of the wiretap before
 14 Buchanan’s federal trial. (See Pet., Exh. 2.) That Buchanan may have been
 15 personally unaware of it does not render the government’s conduct a Brady
 16 violation. Second, there are no grounds for believing that more specific information
 17 about the wiretap was impeaching evidence that had to be disclosed. The Torres
 18 wiretap was not mentioned at all during his federal trial. Furthermore, Buchanan’s
 19 allegation that McIvor perjured himself in the state trial has been rejected by courts
 20 reviewing that conviction. See Buchanan v. Beard, No. 10-0423, 2013 WL
 21 2390435, at *8 (S.D. Cal. May 29, 2013) (“The state court’s denial of Buchanan’s
 22 perjury claims was neither contrary to, nor an unreasonable application of, clearly
 23 established law.”) There is simply no reason for the Court to conclude that
 24 additional information about the wiretap would have put the whole federal case in
 25 such a different light as to undermine confidence in the verdict
 26         Because Buchanan has not shown prejudice sufficient to overcome his default,
 27 the Court need not reach the issue of “cause” for not raising the issue sooner. This
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  1 claim is procedurally barred.
  2            C.    Henthorn material (McIvor)
  3            Buchanan next claims the government violated its obligations under United
  4 States v. Henthorn, 931 F.2d 29 (9th Cir. 1991) by not reviewing McIvor’s
  5 personnel file for potential impeachment material. This argument is not persuasive.
  6            Buchanan has not shown that a Henthorn violation occurred, much less
  7 prejudice stemming from such a violation. Henthorn stands for the proposition that,
  8 upon request, the government has a duty to examine personnel files of testifying
  9 officers for impeachment materials. 931 F.2d at 31. The Ninth Circuit has clarified,
 10 however, that a federal prosecutor “is not obligated to review state law enforcement
 11 files not within its possession or control,” even when state personnel are working
 12 with federal personnel. United States v. Dominguez-Villa, 954 F.2d 562, 566 (9th
 13 Cir. 1992); see also FED. R. CRIM. P. 16(a)(1)(E)(i) (“Upon a defendant’s request,
 14 the government must permit the defendant to inspect and to copy or photograph
 15 books, papers, documents, data, photographs, tangible objects, buildings or places,
 16 or copies or portions of any of these items, if the item is within the government’s
 17 possession, custody, or control and . . . the item is material to preparing the defense .
 18 . . .”).
 19            At a pre-trial hearing, the United States told the defense that it would not be
 20 searching the personnel records of non-federal officers, such as McIvor. Buchanan
 21 claims this was constitutional error because McIvor was part of a multi-agency
 22 investigation. The Court disagrees. “The fact that state law enforcement personnel
 23 were involved in the underlying federal criminal investigation, does not make their
 24 personnel files ‘under the control of,’ or ‘in the possession of’ the federal
 25 prosecutor.” United States v. Rivaz-Felix, No. 12-CR-00340, 2013 U.S. Dist. LEXIS
 26 55895, at *13 (E.D. Cal. Apr. 18, 2013). Here, Buchanan has presented no evidence
 27 that the federal government had possession or control of McIvor’s personnel file.
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  1 He also has not shown that impeaching information would have been found therein.
  2 “The mere possibility that an item of undisclosed information might have helped the
  3 defense, or might have affected the outcome of the trial, does not establish
  4 ‘materiality’ in the constitutional sense.” United States v. Agurs, 427 U.S. 97, 109-
  5 10 (1978). Because Buchanan has not shown that he was prejudiced by the federal
  6 government’s decision not to investigate McIvor’s personnel file, the Court need not
  7 reach the issue of “cause” for not raising the issue sooner. This claim is
  8 procedurally barred.
  9         D.    Giglio material (Guerra)
 10         Buchanan next asserts that the government failed to disclose sufficient
 11 credibility information about Guerra as required by Brady and Giglio v. United
 12 States, 405 U.S. 150 (1972).
 13         Prosecutors have an obligation under Brady to disclose material information
 14 that bears on the credibility of government informants. See, e.g., Giglio, 405 U.S. at
 15 154-55. “[I]nformation in the possession of the prosecutor and his investigating
 16 officers that is helpful to the defendant, including evidence that might tend to
 17 impeach a government witness, must be disclosed to the defense prior to trial.”
 18 United States v. Price, 566 F.3d 900, 903 (9th Cir. 2009).
 19         At a pre-trial hearing, Donovan requested all impeachment material for the
 20 government’s confidential informant. The prosecutor stated that Guerra’s state-side
 21 cooperation agreement was not within the custody of the federal government,
 22 although he was familiar with the terms. Accordingly, he faxed to the defense that
 23 evening a two-page, two-year-old memorandum from the district attorney’s office.
 24 (Reply, Exh. 3.) The memorandum set out Guerra’s criminal history, a list of prior
 25 or pending cases in which Guerra was a witness, sentencing benefits that Guerra had
 26 received, and contact information for individuals familiar with his compensation.
 27 The prosecutor also provided the defense with Guerra’s eight-page “rap sheet.”
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  1          Buchanan maintains this was inadequate. He argues, for example, that the
  2 government should have provided the state’s written agreement with Guerra. The
  3 Court is not convinced. Buchanan has shown no prejudice by his having a summary
  4 rather than the original document. A hunch that certain promises or rewards went
  5 undisclosed is insufficient.
  6          Similarly, in the Traverse, Buchanan argues that the government suppressed
  7 information that Guerra and McIvor testified at the state criminal trials of an
  8 individual named Fletes.7 Fletes was apparently tried twice. The government
  9 concedes that these trials were not listed on the fax. It provides documentation,
 10 however, that Guerra and McIvor did not testify at the first trial. As for the second
 11 trial, Guerra testified for twenty-nine minutes; McIvor for twenty-four. (Reply, Exh.
 12 2.) The entire trial lasted two weeks. Buchanan provides scant evidence about the
 13 substance of Guerra’s and McIvor’s testimony; he merely speculates, based on the
 14 jury’s failure to reach a verdict, that they were unconvincing and he could have used
 15 this to impeach. Such bare allegations do not establish prejudice. See Agurs, 427
 16 U.S. at 109-10 (1978) (“The mere possibility that an item of undisclosed information
 17 might have helped the defense, or might have affected the outcome of the trial, does
 18 not establish ‘materiality’ in the constitutional sense.”)
 19          At trial, Donovan extensively cross examined Guerra. The jury heard that he
 20 was compensated for his activities as an informant, that he received sentencing
 21 benefits, and that he received assistance with a citizenship matter. The jury also
 22 heard about Guerra’s drug use and criminal histories. Buchanan has not made an
 23 adequate showing that any undisclosed evidence would have further damaged his
 24 credibility.
 25          Because Buchanan has not shown materiality under Brady or prejudice
 26
             7
 27            Although the Court need not address arguments raised for the first time in a Traverse, it does
      so here out of an abundance of caution. See Cacoperdo v. Demosthenes, 37 F.3d 504, 507 (9th
 28   Cir.1994) (“A Traverse is not the proper pleading to raise additional grounds for relief.”).


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  1 sufficient to overcome his default, the Court need not reach the issue of “cause” for
  2 not raising this issue sooner. This claim is procedurally barred.
  3 III.    Prosecutorial misconduct
  4         The Supreme Court has recognized that “prosecutorial misconduct may so
  5 infect the trial with unfairness as to make the resulting conviction a denial of due
  6 process.” Greer v. Miller, 483 U.S. 756, 765 (1987) (quotations, brackets, and
  7 citations omitted). To show prejudice, Buchanan must show that, absent the alleged
  8 misconduct, there is a “reasonable probability that the result of the proceeding would
  9 have been different.” Hein v. Sullivan, 601 F.3d 897, 905 n.4 (9th Cir. 2010).
 10         Buchanan contends that the government engaged in misconduct both during
 11 its investigation and during his trial.
 12         First, Buchanan argues that the prosecutor committed misconduct by lying to
 13 the Court about Soria’s January 2005 interview. In response to a defense request for
 14 her statement, the prosecutor told the Court that it was not exculpatory. (Tr.
 15 415-16.) That remains the government’s position. Whether the interview was, on
 16 balance, more inculpatory than exculpatory or more exculpatory than inculpatory is
 17 of no consequence now, however, because in the context of the entire record it was
 18 not material for Brady purposes. Buchanan has not shown that there is a reasonable
 19 probability the result of the proceeding would have been different absent the
 20 government’s in-court representation. Because he has not shown prejudice, his
 21 allegations are insufficient to overcome his procedural default.
 22         Second, Buchanan argues that the government committed misconduct by
 23 suppressing information about the Torres wiretap. As explained above, the wiretap’s
 24 existence was not suppressed from the defense. To the extent more specific
 25 information went undisclosed, Buchanan has failed to show that it was even relevant
 26 to his federal proceeding, much less that there is a reasonable probability the result
 27 of the proceeding would have been different absent the government’s conduct.
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  1 Because he has not shown prejudice, his allegations are insufficient to overcome his
  2 procedural default.
  3         Third, Buchanan argues that the government delayed in producing a body wire
  4 recording until trial. Delayed disclosure “only requires reversal if ‘the lateness of
  5 the disclosure so prejudiced [Buchanan’s] preparation or presentation of his defense
  6 that he was prevented from receiving his constitutionally guaranteed fair trial.”
  7 United States v. Shelton, 588 F.2d 1242, 1247 (9th Cir. 1998). Considering the
  8 weight of the evidence in this case. Buchanan has not shown there is a reasonable
  9 probability the result of the proceeding would have been different absent the delayed
 10 disclosure. Because he has not shown prejudice, his allegations are insufficient to
 11 overcome his procedural default.
 12         Fourth, Buchanan alleges that the government choreographed interactions
 13 between informants to “create documentation on movant in relation to drugs.” (Pet.
 14 24-25.) He submits an “investigator’s report,” which allegedly includes such
 15 manufactured information. Buchanan again fails to show prejudice, however. This
 16 report was not even referenced during trial. Even if the Court accepted Buchanan’s
 17 description of its contents (and there is no reason to suggest that it should),
 18 Buchanan has not shown how, absent the government’s conduct, there is a
 19 reasonable probability the result of the proceeding would have been different.
 20 Because he has not shown prejudice, his allegations are insufficient to overcome his
 21 procedural default.
 22         Along the same lines, Buchanan claims that he was falsely identified as the
 23 speaker on one recorded telephone call, played at trial, that was really a conversation
 24 between Guerra and a third party. (Pet. 25.) This claim fares no better. Even if
 25 Buchanan was not a participant on that call, he offers no proof that the government
 26 knowingly presented false evidence or that, absent the government’s presentation of
 27 this particular evidence, there is a reasonable probability the result of the proceeding
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  1 would have been different. Because he has not shown prejudice, his allegations are
  2 insufficient to overcome his procedural default.
  3         Because Buchanan has not shown that any of the alleged acts of misconduct,
  4 cumulatively or in isolation, worked to his actual or substantial disadvantage, he has
  5 not shown prejudice sufficient to overcome his procedural default. The Court need
  6 not reach the question of cause for not raising these issues sooner. His claims of
  7 prosecutorial misconduct, like his Brady claims, are procedurally barred.
  8 IV.     Ineffective Assistance of Counsel
  9         Buchanan claims that both his trial counsel and appellate counsel provided
 10 ineffective assistance. A prisoner may raise ineffective assistance of counsel claims
 11 for the first time in a § 2255 petition. Massaro, 538 U.S. at 509. Therefore, for
 12 these claims at least, the procedural default rule is not in play.
 13         A § 2255 movant alleging ineffective assistance of counsel must show that:
 14 (1) “counsel’s performance was deficient;” and (2) the “deficient performance
 15 prejudiced the defense.” Strickland v. Washington, 466 U.S. 668, 687 (1984).
 16 “[T]here is no reason for a court deciding an ineffective assistance claim to . . .
 17 address both components of the inquiry if the defendant makes an insufficient
 18 showing on one.” Id. at 697.
 19         To prove the first prong, the movant must show that counsel’s assistance was
 20 not within the range of competence demanded of counsel in criminal cases. Lambert
 21 v. Blodgett, 393 F.3d 943, 979-80 (9th Cir. 2004). “This requires a showing that
 22 counsel made errors so serious that counsel was not functioning as the ‘counsel’
 23 guaranteed the Defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687.
 24 “Judicial scrutiny of counsel’s performance must be highly deferential [because it] is
 25 all too tempting for a defendant to second-guess counsel’s assistance after conviction
 26 or adverse sentence, and it is all too easy for a court, examining counsel’s defense
 27 after it has proved unsuccessful, to conclude that a particular act or omission of
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  1 counsel was unreasonable.” Id. at 689. For this reason, there is a strong
  2 presumption “that counsel’s conduct was within the wide range of reasonable
  3 assistance, and that he exercised acceptable professional judgment in all significant
  4 decisions made.” Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990); see also
  5 Murtishaw v. Woodford, 255 F.3d 926, 939 (9th Cir. 2001) (defendant “bears the
  6 heavy burden of proving that counsel’s assistance was neither reasonable nor the
  7 result of sound trial strategy”).
  8         To prove Strickland’s second prong, the movant must show that “counsel’s
  9 errors were so serious as to deprive the defendant of a fair trial, a trial whose result is
 10 reliable.” Strickland, 466 U.S. at 687. There must be “a reasonable probability that,
 11 but for counsel’s unprofessional errors, the result of the proceeding would have been
 12 different.” Id. at 694. “A reasonable probability is a probability sufficient to
 13 undermine confidence in the outcome.” Id. “Bald assertions” of ineffective
 14 assistance of counsel do not entitle a prisoner to an evidentiary hearing. Jones v.
 15 Gomez, 66 F.3d 199, 205 (9th Cir. 1995).
 16         A.     Ineffective Assistance of Trial Counsel
 17         Buchanan claims that Donovan, his trial counsel, provided ineffective
 18 assistance because she “submitted no defense at trial at all.” His examples of
 19 deficient performance, however, are not persuasive.
 20         First, he asserts that Donovan “refused to conduct voice analysis of recordings
 21 used against movant at trial, as movant requested.” (Pet. 8.) He maintains that the
 22 voice attributed to him on “CD # 57”—one of several “set up” calls—was someone
 23 else.
 24         By this bare allegation, Buchanan does not show deficient performance.
 25 Donovan did not ignore the issue of voice identification; she simply attacked it from
 26 a different angle. She challenged Guerra’s credibility, and then reminded the jury in
 27 summation that “all these taped phone conversations that you have heard[,] we only
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  1 have the word of Mr. Sean Guerra that the voice does belong to Richard Buchanan.
  2 There’s been no other evidence by the government that it is, in fact, the defendant’s
  3 voice.” (Tr. 448.) Buchanan has failed to show that this approach, rather than a
  4 scientific voice analysis, fell outside the wide range of reasonable assistance. See
  5 Harrington v. Richter, 131 S. Ct. 770, 789 (2011) (“Counsel is entitled to balance
  6 limited resources in accord with effective trial tactics and strategies.”(quotations
  7 omitted)). In short, Buchanan has failed to satisfy Strickland’s first prong.
  8          He also has failed to show prejudice. He provides no evidence, such as a
  9 declaration from an expert, that a voice analysis would support his claim. All he
 10 offers is a conclusory, self-serving statement. He does not carry his burden of
 11 demonstrating that but for Donovan’s failure to perform a voice analysis, the result
 12 of the proceeding would have been different.
 13          Second, Buchanan faults Donovan for not calling Soria as a witness for the
 14 defense.8 He provides a declaration from Soria dated November 28, 2011.
 15 (Traverse, Exh. 5) Soria states, in pertinent part:
 16          I have never been asked to testify in Mr. Buchanan’s behalf or else I
             would have done it right away. . . . I plead guilty as charged because I
 17          sold to the Governments Informant “Shaun Guerra” a.k.a. “Heuro” or
             “Allstar” on the following dates May 28, 2004, June 3, 2004 and July
 18          8, 2004. I take full responsibility for my own actions the drugs were
             mine the money the Informant exchanged for the drugs them 3 times I
 19          spend it. I act on my own.
 20          By this claim, Buchanan again fails to show deficient performance. An
 21 attorney makes a strategic choice in deciding whether to put a witness on the stand.
 22 Sometimes, not calling a witness is wise strategy. See United States v. Harden, 846
 23 F.2d 1229, 1231-32 (9th Cir. 1998) (“Furthermore, the decision not to call
 24 Washington as a witness appears to be a reasonable trial tactic. Washington was a
 25 convicted felon with numerous prior felony convictions. His credibility could have
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 27          8
              Although this argument was not raised until the Traverse, the Court considers it here in an
      abundance of caution. See Cacoperdo, 37 F.3d at 507.
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  1 been at issue.”) Soria’s trustworthiness would have been an issue. She had already
  2 pled guilty. The jury saw evidence of her with Buchanan. Furthermore, the jury
  3 heard recordings in which she seemingly implicated Buchanan. Putting her on the
  4 stand would have been a gamble. Donovan did not take that gamble. That was not
  5 unreasonable.
  6         He also has failed to show prejudice. The record reflects strong evidence of
  7 Buchanan’s guilt. There are no grounds to believe that but for Donovan’s failure to
  8 call Soria as a witness, the result of the proceeding would have been different.
  9         Finally, Buchanan is simply wrong that he received “no defense.” By giving
 10 an opening statement and closing argument and cross-examining government
 11 witnesses, Donovan subjected the prosecution’s case to meaningful adversarial
 12 testing. Because Buchanan has not demonstrated deficient performance, his claim of
 13 ineffective assistance by his trial counsel fails. The Court need not reach
 14 Strickland’s second prong.
 15         B.    Ineffective Assistance of Appellate Counsel
 16         Buchanan claims that Gerson Simon, his appellate counsel, was ineffective by
 17 moving to withdraw and submitting a brief pursuant to Anders v. California without
 18 first meeting with him. This argument lacks merit.
 19         First, Buchanan fails to show that Simon’s performance was deficient. “An
 20 attorney who finds no non-frivolous issues for appeal does not necessarily have to
 21 meet with his or her client in person before filing an Anders brief, so long as the
 22 Anders notice requirements are met, in order to satisfy his or her duty to the client.”
 23 Dones v. United States, No. 08 Civ. 926, 2010 U.S. Dist. LEXIS 4237, at *22
 24 (S.D.N.Y. Jan. 20, 2010); Lucas v. Sec’y, Dep’t of Corr., No. 6:09-cv-1554, 2011
 25 U.S. Dist. LEXIS 34069, at *12 (M.D. Fla. March 17, 2011) (“Petitioner’s appellate
 26 counsel did not provide inadequate representation merely because he did not meet
 27 with Petitioner prior to filing the Anders brief.”). Buchanan has not shown why a
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  1 pre-filing consultation with him was required.
  2         Second, Buchanan has not shown prejudice. Upon review of Simon’s Anders
  3 brief, the Ninth Circuit found no meritorious reasons for appeal. Furthermore, it
  4 gave Buchanan an opportunity to file a pro se brief. Buchanan failed to take
  5 advantage. That decision does not make his attorney’s prior assessment of the case
  6 incorrect. Because Buchanan has not demonstrated deficient performance or
  7 prejudice, his claim of ineffective assistance by his appellate counsel is denied.
  8 V.      Actual Innocence
  9         In his Traverse, Buchanan asserts that he is innocent. Ordinarily, the Court
 10 will not consider claims raised for the first time in a Traverse. See Cacoperdo, 37
 11 F.3d at 507 (“A Traverse is not the proper pleading to raise additional grounds for
 12 relief.”). In an abundance of caution, however, the Court will construe these
 13 assertions as a freestanding claim of actual innocence and consider them here.
 14         The Ninth Circuit recognizes a claim of actual innocence that is cognizable
 15 under § 2255. United States v. Berry, 624 F.3d 1031, 1038 n.5 (9th Cir. 2010). The
 16 bar is extremely high, however. Buchanan “must go beyond demonstrating doubt
 17 about his guilt, and must affirmatively prove that he is probably innocent.” Carriger
 18 v. Stewart, 132 F.3d 463, 476 (9th Cir. 1997) (en banc).
 19         Here, Buchanan alleges that evidence against him “was planted throughout the
 20 case[.]” (Traverse 7.) He alleges that Guerra lied about the meaning of code words
 21 used during recorded conversations, and assert that he really sold him
 22 “baseball/football collector cards”—not drugs. (Traverse 9-10.) He points to
 23 purported inaccuracies in government transcripts and speculates that the government
 24 “appears to have, perhaps, fabricated evidence.” (Traverse 17.) Finally, he argues
 25 that the Soria interview and Torres wiretap are “new evidence.” The Court finds no
 26 merit in these claims, which rest almost entirely on his unsupported allegations of a
 27 corrupt investigation. The limited evidence he does provide fails to cast doubt on his
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  1 conviction, much less prove that he is probably innocent. Buchanan has fallen well
  2 short of his burden.
  3 VI.     Evidentiary Hearing
  4         Buchanan requests an evidentiary hearing. The request is denied. When
  5 viewed against the record, Buchanan’s allegations of ineffective assistance do not
  6 state a claim on which relief could be granted. See Schaflander, 743 F.2d at 718
  7 (denying a hearing where allegations, even if true, did not state a claim for relief).
  8 His remaining claims are procedurally barred. Under these circumstances, an
  9 evidentiary hearing is not warranted.
 10 VII. Certificate of Appealability
 11         Under Federal Rule of Appellate Procedure 22(b), there is no appeal from the
 12 final order in a proceeding under § 2255 unless a “circuit justice or a circuit or
 13 district judge issues a certificate of appealability under 28 U.S.C. § 2253(c).” A
 14 “certificate of appealability may issue . . . only if the applicant has made a
 15 substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).
 16 When the district court has rejected a claim on the merits, a “petitioner must
 17 demonstrate that reasonable jurists would find the district court’s assessment of the
 18 constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484
 19 (2000). “When the district court denies a habeas petition on procedural grounds
 20 without reaching the prisoner’s underlying constitutional claim, a COA should issue
 21 when the prisoner shows, at least, that jurists of reason would find it debatable
 22 whether the petition states a valid claim of the denial of a constitutional right and
 23 that jurists of reason would find it debatable whether the district court was correct in
 24 its procedural ruling.” Id. Buchanan has failed to make the required showing.
 25 Accordingly, the Court denies Buchanan a certificate of appealability.
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  1                                    CONCLUSION
  2        For the reasons given above, the Court denies Buchanan’s motion to
  3 vacate, set aside, or correct his conviction and sentence pursuant to 28 U.S.C.
  4 § 2255. The Court also denies Buchanan a certificate of appealability.
  5        IT IS SO ORDERED.
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  7 DATED: September 3, 2013
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  9                                          Hon. Roger T. Benitez
                                             United States District Judge
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